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                          UN ITED STATES DISTRICT COU RT
                          SOU THERN D ISTRICT O F FLORID A
                       CA SE N O .17-10028-CR-M ARTlN EZ/SN O W

 UN ITED STA TES OF A M ERICA

        Plaintiff,
 VS.

 CESA R SA M UEL SO SA TU FIN O ,

        Defendant.


               O R D ER A D O PTING M A G IST M TE'S A M E ND ED R EPO R T
                              A N D R EC O M M EN DA TIO N

       TH IS CA USE cam e beforethe Courtupon the OrderofReference from the

 D istrictCourtto conductaChange ofPlea before a M agistrate Judge.

       TH E M A TTER w asreferred to M agistrate Judge Lurana S.Snow ,on January 16,

 2018. An Am ended Reportand Recom m endation was filed on Febnlary 20,2018,

 LECF No.36j,recomm ending thattheDefendant'splea ofguiltybeaccepted.Theparties

 wereaffordedtheopportunitytofileobjectionstotheAmendedReportand
 Recom m endation,how evernone w ere filed. The Courthasreviewed the entire file and

 record and notesthatno objectionshavebeen filed.Aftercarefulconsideration,the
 Courtaffirm sand adoptstheA m ended Reportand Recom m endation. A ccordingly,itis

 hereby'
       .

       O R DERED A ND ADJUD G ED thattheA m ended Reportand Recom m endation

 (ECF No.36jofUnited StatesM agistrateJudgeLuranaS.Snow,ishereby AFFIRM ED
 and AD O PTED in itsentirety.
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        TheDefendantisadjudgedguiltytoCount1oftheIndictment,which
  chargeshim w ith conspiracy to possessw ith intentto distribute 5 kilogram sofcocaine

 whileonboardavesselsubjecttothejurisdictionoftheUnitedStates,inviolationof46
 U.S.C.j 70506(b).
        DONE AND ORDERED inChambersatMiamiFlorida,thisA dayof
                                                        ,



 February,2018.


                                                 JO SE . R 1 EZ
                                                 UN IT  STA TES D 1 RICT JUD GE



 Copied:H on.M agistrate Snow
 AllCounselO fRecord
 U .S.Probation O ftsce
